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United States District Court
for the Northern District of Texas

Fot7 Werth _ Division
United States of America, Z 4 TUM A

Plaintiff, Place of Confinement

v. 5P(%s- 177

Federal Register Number

Fidel A. Ag rdid done 05344-14-CR-OFl-A(i0)

Defendant. Criminal Case Number

Defendant’s Motion for Reduction of Sentence pursuant to 18 U.S.C. § 3582(¢)(2)_
and Amendment 821 to the Federal Sentencing Guidelines:

x Based on U.S.S.G. § 4C1.1 Adjustment for Zero-Point
Offenders (for those assessed zero criminal history points at
sentencing)

Based on U.S.S.G. § 4Al.1(d) & (e) Criminal History Category
(for those who received “status” points for being under a
criminal justice sentence at the time of the offense)

Instructions - Read Carefully

L. The court has received your request regarding a sentence reduction under Amendment
821 to the Sentencing Guidelines (effective November 1, 2023), You must complete
this form motion and return it to the appropriate divisional office listed in instruction 3,
below, to enable the court to consider your request. This form should only be used
when requesting a sentence reduction pursuant to Amendment 821 to the Sentencing
Guidelines and for no other purpose, Amendment 821 provides for reduction in offense
level for certain offenders with zero criminal history points (U.S.S.G, § 4C1.1) and
reduces or eliminates status points for certain offenders who previously received status
points pursuant to U.S.S.G. § 4Al.1{d}). Amendment 825 authorizes retroactive
reductions effective February 1, 2024 or later. A copy of your original request is
included with this form for your reference.

2. This motion must be legibly handwritten or typewritten. All questions must be briefly

answered in the proper space on the form.
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3. Completed motions must be mailed to the Clerk of the United States District Court
for the Northern District of Texas at the appropriate divisional office below:

Abilene Division Amarillo Division Dallas Division

341 Pine Street 205 SE 5 Avenue £100 Commerce Street
Room 2008 Room 133 Room 1452

Abilene, TX 79601 Amarillo, TX 79101 Dallas, TX 75242

Fort Worth Division Lubbock Division San Angelo Division
501 W. 10" Street 1205 Texas Avenue 33 East Twohig Avenue
Room 310 Room 209 Suite 202

Fort Worth, TX 76102 Lubbock, TX 79401 San Angelo, TX 76903

Wichita Falls Division
501 W. 10° Street
Room 310

Fort Worth, TX 76102

4, Questionnaires that do not follow these instructions will be returned, and the mistake will
be identified.
Questionnaire
1. Name and location of court that entered the sentence that you are asking to reduce:

US. Districh courl care cabell Federal Bids
1109 CoHMAICE ST WIYAZO DBATIAS TK FSLIC-7003

2. Date(s) of sentence and judgment of conviction:
Pi2f2014 Jas rtosths YOoRT
3. Are you currently in prison for this sentence?
K Yes No

4, If so, when is your projected date of release? @ /; Z af Zee7d

5, Are you currently on supervised release? Yes X No

6. Are you currently in prison because you violated your supervised release for the
conviction and sentence identified in response to Questions No, 1 and 2?

Yes x No

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7. Is your case currently on appeal? Yes x No

8. Offense(s) for which you were convicted (all counts):

CYP WITh a covtyolld 60 bhSAWEE

9, In calculating the applicable sentencing guideline range, were you assessed any criminal
history points (U.S.8.G. § 4A1.1}?

Yes 4 No ' Not Sure

9a, If the answer to Question 9 is “No,” check the box for all statements that apply to your
conviction and sentence:

(4) I received criminal history points from Chapter Four, Part A;

C4 I received an adjustment under § 3A1.4 (Terrorism);

[] I used violence or credible threats of violence in connection with the offense;
[1] the offense resulted in death or serious bodily injury;

(J the instant offense of conviction is a sex offense;

[J I personally caused substantial financial hardship;

C1 possessed, received, purchased, transported, transferred, sold, or otherwise
disposed of a firearm or other dangerous weapon (or induced another participant to do
so) in connection with the offense;

[1] the instant offense of conviction is covered by § 2H1.1 (Offenses Involving
Individual Rights);

[1 I received an adjustment under § 3A1.1 (Hate Crime Motivation or Vulnerable
Victim) or § 3A1.5 (Serious Human Rights Offense);

[J I received an adjustment under § 3B1.1 (Aggravating Role) or was engaged in a
continuing criminal enterprise, as defined in 21 U.S.C, § 848; or

[4] none of the statements above applies to my case.

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10.

iL.

12,

13.

If the answer to Question 9 is “Yes,” were you assessed criminal history points
for being “under any criminal justice sentence, including probation, parole,
supervised release, imprisonment, work release, or escape status” at the time of the
offense (a.k.a. “status points”) (U.S.8.G. § 4A1.1(d))?

Yes No Not Sure

If the answer to Question 10 is “Yes,” how many criminal history points were
assessed in total, including the “status points’?

Criminal History Points

If you were sentenced on or after April 5, 2023, did the Court provide the benefit of
the “status points” or “zero-point offenders” amended guidelines at your sentencing
hearing prior to the effective date?

Yes X No Not Sure

Listany good conduct that occurred after your original sentencing hearing or any other
mitigating circumstances that you would like the Court to be aware of in deciding
whether you should receive a sentence reduction (for example, participating in a drug
treatment program, or completing your GED or another degree).

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For the reasons stated in this motion, I move the court for a reduction in sentence under 18 U.S.C.
§ 3582(c)(2) and Amendment 821 to the Federal Sentencing Guidelines, I declare under penalty of
perjury that the facts stated in this motion are true and correct.

Respectfully submitted this Kida Hf. LY, Ar fi) 305A , 202-3.

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Signature of Dgfendant

Fidel A. MarTid ona

Printed Name

4BI22-/ FF

BOP No.

L4 TUNA

Federal Correctional Institution (if applicable)

Po. Rox ZAogo
Address

Athowy WA, 22074
City, State &"Zip Code *

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polw 40th Street Room31 0
FORT Worth, TX 76102

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